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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 21-768 JVS (KESx)                                              Date    October 28, 2021
 Title             Jane Doe et al. v. Reddit, Inc.


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                                  Not Present
                         Deputy Clerk                                                 Court Reporter
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                          Not Present                                                  Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Dismissal of Claims


       Defendant Reddit, Inc. (“Reddit”) filed a motion to dismiss the complaint of
Plaintiffs Jane Does Nos. 1-6 and John Does Nos. 2, 3, and 5 (collectively —
“Plaintiffs”). Dkt. No. 40. On October 7, 2021, the Court granted Reddit’s motion to
dismiss, and granted Plaintiffs thirty-days’ leave to amend their claims, except as to the
section 2258A claim. Dkt. No. 58, at 15. On October 27, 2021, the Plaintiffs filed a notice
of non-amendment and requested that the Court enter an order dismissing the case. Dkt.
No. 59.

         Accordingly, the Court DISMISSES all claims with prejudice.


                    IT IS SO ORDERED.




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                                                               Initials of Preparer           lmb




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